Case 1:04-cv-10981-PBS Document 61-2 Filed 03/17/05 Page 1of11

EXHIBIT A

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Case 1:04-cv-10981-PBS Document 61-2 Filed 03/17/05 Page 2 of 11

SUPERIOR COURT OF CALIFORNIA
COUNTY OF LOS ANGELES

JUDICIAL COUNCIL COORDINATION
PROCEEDING NO.: 4122

STATEMENT OF DECISION RE:
DEFENDANTS’ MOTION FOR

IN RE REZULIN LITIGATION

Intervention, ine. v. Warner-Lambert
Company, et al. {Contra Costa County Case
No, C-01-0977)

and
California Disability Righis, Ine. v. Warner-

Lambert Company (Los Angeles County Case
No. SC055268)

1.
BACKGROUND

These representative actions are part of the coordinated JCCP Rezulin proceeding.

Plaintiffs, public interest groups suing on behalf of the general public under Californ-a’s Lintuir

Competition Law, California Business and Professions Code § 17200, et seq. ("LCL"), seek
restitution against Defendants Warner-Lambert Company and Ptizer, Inc. ("WL", collectivels )

on behalf of individuals who were prescribed Rezulin by their doctors to treat diabetes, basew

on alleged unfair and deceptive practices, consisting of an alleged failure to adequately warn of

SUMMARY JUDGMENT IN UCL CASES |

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Case 1:04-cv-10981-PBS Document 61-2 Filed 03/17/05 Page 3 of 11

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risks associated with Rezulin weatment.

WL has filed two motions for summary judgment. in the firs motion, WL moves on
grounds that: 1) the Court should decline to exercise its equitable power in these cases under
Kraus y, Trinity Mgmt. Services, inc, (2000) 23 Cal.4th 116, 138 and its progeny: and 2) that
the UCL, as Plaintiffs would apply the statute in this case, violates the duc process clauses of
the state arid federal constitutions. .

In the second motion, WI. seeks an order dismissing the complaints on the following
grounds; |) there is no precedent to assert 17200 or 17500 claims based on allegations
concerning the approval process for a prescription medication or based on allegations that the
warning label was misleading: 2) California Disability Rights’ complaint should be dismissed
based on the holding in Cel-Tech Commy., inc. v. Los Angeles Cellular Tel. Co, (1999) 20
Cal.4th 163, 185-186 (the “safe harbor” argument); and 3) Plaintiffs’ claims are preempied by
federal law.

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DISCUSSION
A, Preliminary rulings

Plaintiffs’ objections to late filed evidence agcompanying Defendants' Reply Memorandum

are sustained. ©

The Court grants Plaintiffs’ Objections to, and Motions to Strike Portions of, the -
Declaration of James A, Parker, Jr. The Court finds that there is no foundation for Mr. Parker's
Statentertts regarding the internal conduct of the FDA.

Plaintiffs’ request for continuance for purpose of pursuing discovery is denied. The
requested deposition of James A. Parker, Jr.. will not produce facts essential ‘0 support the
opposition. CCP 437e(h).

' The underlying allegations of unfair campetition, and the prayer (or relief in both complaints, are substantially

similar, and the Court treats the complaines the same for purposes of ruling an Warer-Lambert’s mations, The Coun
has referenced, infra, in ity Statement of Decision, those parions of Interverttion, Inc.'s Complaint for Unfair
Competition which parallel the allegations af COR's First Amended Caniplaint (FAC).

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Case 1:04-cv-10981-PBS Document 61-2 Filed 03/17/05 Page 4 of 11

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B, Motion #1 re: Court's Equitable Powers and Due Process
1. Court’s Equitable Powers

Under Business and Professions Cade $172.00, “unfair competition shal] mean and include
any unlawful, unfair or fraudulent business act or practice and unfair, deceptive, untrue or
misleading advertising,” ’

“A court cannot properly exercise an equitable power without consideration of the equities
on both sides of a dispute." Cortez v, Purolator Air Filtration Products Co. (2000) 23 Cal.4th 163,
180. Additionally, a UCL action is equitable in nature, and the Court may consider equitable
factors in deciding which, ifany, remedies aythorized by the UCL should be awarded, Jd. at 1 79-
181. Kraus v. Ti rinity Management Services, fne, (2000) 23 Cal.4th 116, 138 allows the Court “to
decline to entertain the action as a representative action" “in any cause in which a defendant can
demunsirate a potential for harm or show thal the action is not one brought by a competent
plaintiff for the benefit of injured parties.” See also Rosenbluth International, Ine. v. Superior
Court (2002) 101 Cal. App.dth 1073, 1079 (holding in part that Fortune 1000 companies on whose
behalf the plaintiff brought his 17200 claims were not members of the “general public” ander the
UCL),

Defendant WL urges the Court to decline to exercise its equitable powers in this case under
the Kraus factors set forth above.

a. Were actions brought for the benefit of injured parties, and
can Plaintiffs obtain disgorgement or injunctive relief?

Business and Professions Code § 17203 provides as follows:
Any person who engages, has engaged, or proposes to engage in unfair competition
m enjoined in any court of competent jurisdiction. The court may make such
Q or judgments, including the appointment of a receiver, as may be necessary to
prevent the use or employment by any person of any practice which constitutes unfair
competition, ad defined in this chapter, or as may be necessary to restore to any
person im interest any money or property, real or personal, which may have been
acquired by means of such unfair competition.

Restitutionary relief can be sought by anyone authorized to sue under sections 17200 or

17500. The purpose is for the Court to “exercise the full range of ils inherent powers in order to

accomplish complete justice between the parties, restoring ifnecessary the status quo ave a3 nearly

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Case 1:04-cv-10981-PBS Document 61-2 Filed 03/17/05 Page 5of11

as muy be achieved.” People v. Superior Court (Jayhill Corp.) (1973) 9 Cal.3d 283. Damages are

not allowed under sections 17200 or 17500, C'el-Tech Communications, Inc v. Los Angeles :

Cellular Telephone Ca, (1999) 20 Cal. 4th 163, 179; Bank of rhe West v Superior Court (1992) 2
Cal.4th 1232; Chern v. Bank of America (1976) 15 Cal.3d 866, 875.

Neither reliance nor actual damage need be proven to obtain restitutionary relief, Fleicher
v. Security Pacific National Bank (1979) 23 Cal.3d 442. Remedies under § 17200 are cumuiative
to each other (People % Bessline Products, Inc. (1976) 61 Cal.App.3d 879) as well as to other
laws" remedies, People v. Los Angeles Palm, Inc. (1981) 121 Cal.App.3d 25, 32-33.

Rezulin has been voluntari ly withdrawn from the market by Warner-Lambert. There is no
allegation in the CDR First Amended Complaint seeking an injunction, The real issue is whether
the Court can award restituuion or disgorgement, and whether these actions were brought for the
benefit of injured parties, under the facts alleged in these cases. For the reasons discussed below.
Kraus, Day vy. AT&T Corp. (1998) 63 Cal-App.4th 325, and Korea Supply Ca. v. Lockheed Martin
Corp. (2003) 29 Cal.4th 1134, 1148 mandate a finding that the relief Plaintiffs seek is not available
under the UCL.

Day, supra, 63 Cal.App.4th 325 dealt with a 17200 representative claim on dehalf of

persons who purchased telephone calling cards. The plaintiffs had alleged that the calls made with

the cards'were charged by rounding up to the next full minute. In affirming the trial coun’s order

sustaining the demurrer without leave to amend, the Court of Appeal stated:

[T]he notion of restoring something to a victim of unfair competition includes two
separate components, The offending party must have obtained something to which
it was not cnutled and the victim must have given up something which he or she was
entitled to keep. Because the filed rates charged hy respondents are presumptively
correct, a consumer who uses a prepaid phone card obtains the full value of what
was paid for and therefore has given up nothing, regardless of whether he or she wax
improperly induced to purchase the card in the first place. Any attempt to calculate
& monetary amount to be paid on behalf of those who purchased the cards would
necessarily result in a reflind or rebate of properly collected fees for services. This
would enmesh the court in the rate-setting process and directly contravene the fled
rate doctrine. Appellants are not entitled to seck restoration of any money under
section 17203. Day at 340. (Emphasis added.)

Korea Supply Co. v. Lockheed Martin Carp. (2003) 29 Cal.4th 1134 rejected the plaintiff's

attempt to obtain nonrestitutlonary disgorgement. In Korea Supply, the Republic of Korea

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Case 1:04-cv-10981-PBS Document 61-2 Filed 03/17/05 Page 6 of 11

solicited bids to purchase a radar system. The plaintiff represented an entity which stood 10 gain

$30 million in commissions if it won the contract, The defendant's predecessor uluimately won

the contract, The plaintiffalleged the reason the defendant’s predecessor won the contract was due
to alleged bribes to the Korean government. Plaindff filed a 17200 action against the defendant.
seeking an order disgorging the defendant's profits obtained by means of an unfair business
practice. The Court considered “whether disgorgemient of progits that is not restitutionary in mature |
is an available remedy for an individual private plaintiff under the UCL.” Aagrea Supply at (144.
‘The Court rejected the plaintiff's attempt to pursue such relief under § 17200. The Court
first noted that “TWie held in Kraus that while restitution way an available remedy under the UCL,
disgorgement of money obtained through an unfair business practice ig at available remadv in a
representative action only fo the extent that it constitutes resritution, We reaffirm this holding bere
in the context of an individual action under the UCL.” Korea Supply, 29 Cal.4th at 1145
(emphasis added). The Korea Supply court referenced the definition of “restivution” set forth in |
Kraus ~ an ordet “‘cotnpelling a UCL defendant to return money obtained through an unfair
business practice ro those persons in interest from whom the property was taken, tharis, to persons
who had ant ownership interest in the property or those claiming through that person." Karea

Supply at 1144-145 (citing Kraus, 23 Cal.4th at pp. 126-127.) (Emphasis added.) The Court

further noted that “[uJnder the UCL, an individual may recover profits unfairly obtained to the 7
extent that these profits represent monies given to the defendant or benefits in which the plaintiff !
has an ownership inzerest,” Jd. at 1148 (emphasis added}, [n other words. “(Whe abject of |
restitution is to restore the status quo by returning to the plaintiff funds in which he or she has an
ownership interest.” {d.

The Court applied its analysis of the concepts of “restitution” and “disgorgement”™ as
follows:

In an attempt to fit its claim within the statutory authorization for relief, and as an i
implicit acknowledgement that nonrestituionury disgorgement is not an available
remedy in an individual action under the UCL, plaintiff describes ity requested
remedy as “restitution.” This term does not accurately describe the relief sought by
plaintiff. As defined in Avaus, an order for restitution is one “compelling a UCL
defendant to return money obtained through an unfair business practice to those
persons in interest trom whom the property was taken, that is, to persons who had an

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suppression of information on the true nature of Rezulin.

Case 1:04-cv-10981-PBS Document 61-2 Filed 03/17/05 Page 7 of 11

ownership interest in the property or those claiming through that person.” ( Kraus,
supra, 23 Cal.4th at pp. 126-127,

The remedy sought by plainriif'in this case is not restitutionary because plaintiff dues
not have an awnership interest in the money it seeks fo recover from defandants.
First, it is clear that plaintiff is not seeking the return af money or property thal was
once in its possession. KSC has not given any money to Lockheed Martin: instead.
it Was from the Republic of Korea that Lockheed Martin received its protity. Any
award that plaintiff would recover from defendants would not be restitutionary as it
would not replace any money or property that defendants took directly frorn plainiff.

Further, the relief sought by plaintiffis not restitutionary under an alternative theory
because plaintiff has no vested interest in the money it seeks to recover. We have
stated that "the concept of restoration or restitution, as used iri the UCL, is not limited
only to the return of money or property that was once in the possession of that
person.” (Corfez, supra, 23 Cal.4th at p. 178.) Instead, restintion is broad enough to
allow 4 plaintiff to recover money or property in which he or she has a vesred
interest. In Cortez, we determined that "earned wages that are du¢ and payable
pursuant to section 200 et seq. of the Labor Code are as much the property of the
employee who has given his or her labor to the employer in exchange for that
property ag is property @ person surrenders through an unfair business practice,”
(/bid.) Therefore, we concluded that such wages could be recovered as restitution
under the UCL. We reached this result becausé "equity regards that which ought to
have been done as done [citation], and thus recopnizes equitable conversion."
(Cortez, supra, at p. 178.)

In its First Amended Complaint, Plaintiff California Disability Rights (CDR) alleges thar
Warner Lambert, in marketing Rezulin, “engaged in conduct which (1) suppressed and concwaled
from the FDA and the public the information about the drug it derived from clinical tials and
otherwise which showed significant risk of liver damage and cardiovascular problems and other
adverse side effects, and (2) advertised Rezulin as being safe and having side effects ‘comparable

toa placebo,’ CDR's FAC sets forth in further detail allegations of Warner-Lambert’s purpored

proceedings, media reports, arid a request fora congressional investigation as to Why the FDA had
approved Rezulin, W-L acceded to the FDA's request that Rezulin be voluntarily withdrawn from _

(“Warner-Lambert intentional

> FAC in CDR v, Warner-Lambert at §13. See alto 417 of intarvention's Camplaint for Unfair Competition. |
“Dr. [Randall] Whitcomb (Warner-Lambert’s Vice-President] told an FDA advisory commites an December 11, 1996
that occurrences of liver injury among Rezulin patients were ‘comparable (0 placebo’ in the clinical studies” and T}5 |
ly, fraudulently misrepresented to the FIA that the risk of liver damage from Rezuiin was

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Ultimately, “following FDA

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Case 1:04-cv-10981-PBS Document 61-2 Filed 03/17/05 Page 8 of 11

the market.”

In CD's first cause of action for the 17200 violation, "108 alleges that “[ijn making the
aforementioned representations and statements, the Defendants engaged in a svstematic marketing
campaign that was false, unfair, unlawful, and likely to deceive California diabetic consumers as
to the safety, efficacy and uniqueness of Rezulin. As a result, Defendants’ conduct violated
Business and Professions Code §§ 17200 and {7500.™ 9109 alleges taat ~'a}s a result of this
likelihood of deception} members of the public are all considered to have purchased Razulin asa
result of Defendants’ false, unfair, unlawful and deceptive and misleading advertising and
Promotion of Rezulin without the need for individualized proof of reliance, causation and damage

or injury,”

Disgorgement, as noted in Aorea Supply, is available to Plaimiffs in these representative -

UCT. actions only to the exten: the disgorgement sought encompasses restitution. In other words.
disgorgernent would be available if it restored the “status quo.” The partics have stipulated thar
the Plaintiffs are not seeking relief on behalf of those members of the general public who were
physically injured fram taking Rezulin.’ [tis further undisputed that Rezulin is not currently, and
hag not been, available ta members of the general public or marketed ta members of the general

public since it was withdrawn from the market and that Plaintiffs seek no injunctive relief in these

actions, The basis for the complaints is essentially that Warner-Larmbert deceived the public into |

purchasing Rezulin, and Plaintiff seeks “an order requiring Defendants to disgorge, restore aad or

make restitution of any money which may have been acquired by means of unfair vompetition |

> PAC in COR y, Wamar-Lambert, 983, See also 421 of Intervernion's Complaint ("Rezulin was withdrawe,

in approximately March, 2000.")

* See generally 439 in Intervention's Complaint, alleging that “Defendants’ conduct constitutes ofair

competition within the meaning of Dusiness and Professions Code section 17200,"

* See Exhibit to Declaration of Robern Bares; Plaintiffs" Separate Statement of Disputed Material Facts, Fact

6 a ft , ' .
CDR's FAC, Prayer, 41. See alse Intervention, Inc.'s Prayer, (Yl. 2 ("For cnese reasons. pa.rulTaske |

That defendants refund ai] monies obtained chrough che sale of Rezutin: fand] 2. ha: defendants refuad a o-s-merser
Piizer shareholders the incremental benefit which Warner1.ambert obtained fram ther through its untars wmperition "1

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Case 1:04-cv-10981-PBS Document 61-2 Filed 03/17/05 Page 9of11

However, Plaintif's have offered na evidence suggesting that members of the general public
for whose benefit these cases are prosecuted (persons who sustained no physical injury) did noz

benefit from the use of Rezulin, Thare is nothing in the complaints, for instance, claiming that

Rezulin was ineffective. In the absence of such allegations, there is no “property” in which the

general public has an “ownership interest" which Warner-Lambert must “restore” under Kyurea
Supply, There is no “vested Interest” the general public would have in such property,
Consequently, as mandated by the result in Day and Korea Suppiy. Plaintiffs. under the facts
alleged in the complaints, have nothing to recover as disgorgement or restitution as urnatrer of Jaw,

Plaintilfs contend that they “have limited their claims to those for economic injuries

"7 However, therd is no admissible evidence in the reeard

relating to the marketing of Rezulin.
establishing a tiable issue of material fact that the general public has in fact suffered such
economic injury, To the extent that members of the general public paid for, and usec, the
prescription drug Rezulin without harm to them, there is no means of determining that any portion
of the amounts paid for the drug were wrongfully obtained by the deferidants or that, in equity, any
moneys should be returned ta members of the general public,

To the extent that Plaintiffs argue that one purpose of the UCL is to prevent those who
engage in wrongful conduct from profiting from that conduct, their suggestion that diseurgement
of all monies received by Defendants for the sale of Rezulin is neither supported by the cases cited,
nor appropriate, The Court notes that in these coordinated cases there are claims for punitive
damages based on the same facts and evidence alleged by the UCL Plaintiffs in the cases now
before the Court. To the extent the conduct alleged by the UCL plaintiffs is proved in the personal
injury cases, Defendants will be exposed to punitive damages that wil! both punish Defendants’
past conduct and deter similar conduct in the future. Thus, the goal of the UCL to insure that one

does not profit from wrongful conduct will be achieved not through the UCL claims, but rather

through the award of punitive damages, if appropriate, in the injury cases, ”

In sum, the Cour finds that neither restitution nor disgorgement of profits is availabie to

Plaintiffs’ Separate Statement af Disputed Mayerial Facts, Fact 2.

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Case 1:04-cv-10981-PBS Document 61-2 Filed 03/17/05 Page 10 of 11

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the Plaintiffs as is sought under the complaints. In the absence of triable issues of material tact.
and in light of Kraus, Cortez, Day, and Korea Supply, the Court finds there is no basis upon which
it can order either disgorgement or restitution. Consequently, the Court finds that Plaintiffs are not
entitled to any remedy as a matter of law. For these reagons, tlic motion far summary judament
is grartted.,

Given the Court’s order granting Summary judgment, it declines to address WL"s argument
that the suit violates W's due process rights under the state and/or federal constitutions.

C, Motion #2 re: Safe Harbor and Preemption

in view of the Court's determination that the absence of an available remedy supports the
granting of summary judsment for the Defendants, the Court declines to rue on the issues relating
to the doctrines of abstention or preemption. In this regard, tl is the view of the Court that
notwithstanding the decision in Buckman v, Plaintiffs‘ Legal Committee (2001) 331 U.S. 341. all
UCL cases involving DA approved products are not necessarily preempted. $ pecifically, in this
ease, where the FDA bas no continuing involvement, and the drug has been withdrawn from the

market, independent state law claims may survive absent a showing that prosecution of such claims

would interfere with the FDA’s ongoing regulatory powers. With respect to the doctrine of

abstention, the Court does not have sufficient relevant and admissible evidence on which to rule.
With respect to Defendant's reliance an the doctrine of abstention, it is this Court's view that
abstention based on the existence ofa regulatory scheme administered by a public agency such as

the FDA requires an evidentiary showing either by a party, or by the regulatory agency, of the

conflict berween 2 plaintiff's claims and the work of the regulatory agency, or of the advantages -

of pertuitting the regulatory agency to adjudicate a plaintiff's claims. Such a showing bas not been
made its this case.
ML.
CONCLUSION AND ORDER
The motion for summary judgment based on the Court’s equitable powers is granted
pursuant to Korea Supply Co. v, Lockheed Martin Corp., (2003) 29 Cal.4th 1134: Kraus v, Trinity
Meme, Servs., Inc., (2000) 24 Cal 4th 116; Cortez v. Purvlator Alr Filtration Prods. Co., (2000)

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Case 1:04-cv-10981-PBS Document 61-2 Filed 03/17/05 Page 11 of 11

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23 Cal.4th 163; and Day v. AT&T Corp., (1998) 63 Cal.App.4th 325. Defendants have met their
burden under CCP § 437e(p)(2) of demonstrating that neither restitution oor disgorgerment are
available remedies under Plaintiffs’ UCL claims, as a matter of law. Plaintiffs have not met their
burden under CCP § 437¢(p)(2) of showing one ar more triable issues of material facts exists with
respect to the availability of relief under their UCL claims,

In light of the Court’s order:granting the motion for summary judgment based on Korea
Supply Co, Kraus, Cortez, and Day, the Court declines to rule on the issues in Defendants"

concurrent motion for summary judgment relating to the doctrines of abstentiog or preemption,

*

Dated: April 29, 2003

. West
Judge of the Superior Court

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